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                                                                                                                                            CO 19GC00297

PURCHASE & INSTALLATION AGREEMENT                                                                                                           Electrica I Contractor



  I. Customer Information

 Ken Hansen
 Homeowner 1 Name                                       Homeowner 2 Name                                        Homeowner 3 Name
 5862 S Logan Ct
 Address
  Centennial                                                                          Colorado                                80121
 City                                                                                 State                                   ZIP
  +1(303)707-1047
 Primary Phone Number                                                                 Secondary Phone Number
  Kbjzhansen@comcast.net
 Primary Email                                                                       Secondary Email




   II. System Summary                                                                 Notes


  13.12                      41                        1
  System Size (kW)           # of Panels               # of Inverters


                             Heliene 320
        MODULES
                            Brand (Size)
                                                                                     HOA

                            SolarEdge
        INVERTERS
                            Brand (Model)



   Ill. Payment Summary                                                               IV. Payment Info & Terms


   $54,841.60                                                                         Loan                   See Loan Docs
  System Cost                                                                         Payment Type           Amount

   $0.00                                                                              See Loan Docs
  Deposit                                                                             Collect Payment #1

   $54,841.60                                                                         See Loan Docs
  Balance Due                                                                         Collect Payment #2




  V. Terms and Conditions

  (As used in this Agreement, or the Exhibit, "Buyer," "you," "your," and "yours" refer to you, the Customer. "We," "our," and "us" refer to 1Solar and its
  subcontractors or assigns)

  1. LIMITED AUTHORITY OF INDEPENDENT CONTRACTORS: ANY SALES REPRESENTATIVE OR CONSULTANT WHO SELLS OUR PRODUCTS AND SERVICES DIRECTLY
  TO CUSTOMERS IN THEIR HOMES OR BUSINESSES, AS WELL AS ANY SELF-EMPLOYED TECHNICIAN OR INSTALLER WHO INSTALLS OR SERVICES OUR PRODUCTS,
  ARE INDEPENDENT CONTRACTORS AND NOT EMPLOYEES OF 1SOLAR AS SUCH, THESE INDEPENDENT CONTRACTORS ARE NOT AUTHORIZED TO PROMISE OR
  OFFER YOU ANYTHING WHICH WOULD CONTRADICT OR CHANGE THE EXPRESS TERMS AND CONDITIONS CONTAINED IN THIS AGREEMENT AND WE WILL NOT
  HONOR ANY SUCH VERBAL PROMISES OR OFFERS UNLESS SPECIFICALLY AGREED TO IN WRITING BY US.



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 V. Terms and Conditions (Continued)

  2. INSTALLATION OF SYSTEM: By signing below, you authorize us to install the System at the Service Address and agree to pay us the Total Price for the System set forth in
  Section Ill above, and we agree to sell and install the System at the Service Address in compliance with applicable laws and regulations. You understand that installation of the
  System may require drilling and cutting into certain areas where the System will be installed. We shall have the right to determine the method, details and means of performing
  installation of the System. We shall not be liable for any damage or loss sustained by you as a result of delay in installation of equipment, equipment failure, or for interruption
  of service due to factors outside of our direct control, such as electric failure, strikes, walk-outs, war or acts of God . We make no promise of delivery and installation of
  equipment or commencement of services by any particular date. You agree: (a) to give us access to the Service Address during normal working hours (i.e., 8:00 a.m. to 5:00
  p.m., Monday through Friday, excluding national holidays) to complete installation of the System; (b) to ensure that work areas are free of preexisting hazards (i.e., unsafe
  physical conditions or environmental hazards and building/zoning code violations); (c) to ensure that your security system, if any, shall not interfere with installation of the
  System; (d) you will not allow unattended minors at the Service Address while we are present; (e) to control pets and keep them away from work areas; (f) to keep posted
  permits on display at all times; and (g) that you may be subjected to transportation/storage charges or other resulting charges if anyone under your control interferes with or
  delays installation of System.


  3. WARRANTIES: The System components are covered by the applicable manufacturer's warranty (see manufacturer's warranty for further information) and/or as set forth on
  Exhibit A. The warranty related to our installation of the System is included in Exhibit A to this Agreement. YOU ACKNOWLEDGE AND AGREE THAT WE HAVE MADE NO
  REPRESENTATIONS OR WARRANTIES EXPRESS OR IMPLIED, AS TO THE CONDITION OR FUNCTIONS OF THE SYSTEM OR ITS MERCHANTABILITY OR FITNESS FOR ANY PARTICULAR
  PURPOSE, YOU HAVE NOT RELIED ON ANY REPRESENTATIONS OR WARRANTIES OTHER THAN THOSE EXPRESSLY CONTAINED HEREIN, AND NO REPRESENTATION, STATEMENT,
  CONDITION OR WARRANTY NOT CONTAINED IN THIS AGREEMENT SHALL BE BINDING ON THE PARTIES OR HAVE ANY FORCE OR EFFECT WHATSOEVER.


  4. INCENTIVES/TAX BENEFITS: lSolar, at the time of purchase, makes a good-faith estimate of the amount of applicable incentives that are effective and accurate on that date.
  lSolar shall use commercially reasonable efforts to process/register the incentive request on your behalf. If the incentive amount changes for any reason from the estimated
  amount, including related to utility implemented adjustments during that process period, you agree that lSolar is not responsible for any reduction or difference from the
  estimated incentive. If you or your property have already received the estimated incentives within the prior five (5) years, you agree that lSolar is not responsible for any
  reduction or difference from the estimated incentive. You acknowledge that we have not provided you with any tax or legal advice and have not made any representations to
  you regarding the tax and legal consequences of owning the System and recommends you consult with your tax advisor.




 VI. Acknowledgements

 Ken Hansen                                                                                                                   Jul7,2021
 customer Name                                                Signature                                                       Date



 Customer Name                                                Signature                                                       Date



 Customer Name                                                Signature                                                       Date
  LaRon Wallace                                                c(a.~ Wa.tu,,u                                                  Jul 7, 2021
 Energy Consultant Name                                       Signature                                                       Date



  VII. 3-Day Right to Cancel
  You, the buyer, have the right to cancel this contract within three business days ( Jul 1, 2021      ). You may cancel by e-mailing, mailing, or delivering a written notice to the
  contractor at the contractor's place of business by midnight of the third business day after you received a signed and dated copy of the contract that includes this notice. Include
  your name, your address, and the date you received the signed copy of the contract and this notice. If you cancel, the contractor must return to you anything you paid within 10
  days of receiving the notice of cancellation. For your part, you must make available to the contractor at your residence, in substantially as good condition as you received them,
  goods delivered to you under this contract or sale. Or, you may, if you wish, comply with the contractor's instructions on how to return the goods at the contractor's expense
  and risk. If you do make the goods available to the contractor and the contractor does not pick them up within 20 days of the date of your notice of cancellation, you may keep
  them without any further obligation. If you fail to make the goods available to the contractor, or if you agree to return the goods to the contractor and fail to do so, then you
  remain liable for performance of all obligations under the contract. To cancel this transaction, mail or deliver a signed and dated copy of this cancellation notice or any other
  written notice, or send a telegram to: 15131 E Freemont Dr, Centennial, Colorado 80112




 customer Signature                                              Date


 Customer Signature                                              Date


 customer Signature                                              Date

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 EXHIBIT A
  1. Statement of Warranty Coverage by Installer

  a. Please refer to manufacturer's website and provided materials for information regarding inverter, power production, and module linear performance warranties.

  b. Warranty is not required to cover problems resulting from exposure to harmful materials and chemicals, fire, flood, lightning, hurricane, tornado, hailstorm, earthquake, or
  other acts of God, vandalism, alteration of system by anyone not authorized by the installation company, or any other cause beyond the control of the installation company. In
  the event that any part of the system fails due to a manufacturer defect, during the manufacturer warranty time period, lSolar is not liable or responsible for the
  reimbursement of lost production. Buyer is responsible for monitoring your system and informing lSolar immediately should there be an error or belief the system is not
  producing as it should.

  c. lSolar is not liable for any pre-existing conditions nor for any failures of existing equipment. If for any reason you believe there is an issue on items installed by us and/or our
  authorized service providers that relate to any pre-existing conditions or existing equipment, you must allow us and/or their authorized service providers first right to inspect
  and if needed make the necessary repairs. Any repairs or ad-ditional costs are not the responsibility of lSolar.

  2. Energy Bill: Seller makes no guarantee or promise concerning reduction on energy bills, both electric and gas as a result of any work performed. Estimated energy savings is
  modeled using information provided to the seller and is not a guarantee of actual savings. Heating and cooling costs are a function of utility rates, lifestyle activities of the
  occupants, temperature at which the thermostats are set, hot water usage, ventilation, cooking habits, changes in occupancy, home remodels or additions, weather patterns,
  homeowner behavior, and other factors over which Seller has no control.

  3. Payment In Full: Payment is expected to be made in full upon racking and panel installation. Buyer is expected to pay in fu II prior to inspection and system commissioning &
  monitoring. Inspection and commissioning can take several weeks depending on city and utility company. Seller agrees to facilitate the process of getting the system inspected,
  commissioned, and monitoring setup within a reasonable time frame while working with the city and/or county inspectors, utility company, and manufacturer.

  4. Termites and Mold: Seller shall not be obligated to perform any work to correct damage caused by termites, mold, or dry rot.

  5. Protection of Buyer's Property: Buyer agrees to remove or protect any personal property, inside and out including but not limited to carpets, rugs, drapes, furniture, shrubs,
  plantings and Personal items and Seller agrees to show due care with said items as well as cover, mask, pro-tect shrubbery as possible and trim if necessary, however, Seller
  shall not be held responsible for all or any of said items.

  6. Cancellation After 3-Day Right: If Buyer cancels after 3-day right to cancel, a 35% fee is automatically applied to cover product restocking costs and other non-refundable
  services incurred on Seller's behalf. These services include but are not limited to permitting, engineering, financing, administrative processing, etc. All other payments will be
  returned within 30 days of cancellation.

  7. Dispute Resolution: If any dispute shall arise between lSolar and Buyer regarding performance of the work, or payment or any alleged change in the work, lSolar and its
  subcontractors may not be forced to continue work until payment is received. If any dispute should arise it is agreed that lSolar and Buyer shall meet first to review and
  negotiate in a peaceful manner all disputes per terms and conditions of contract. If lSolar, and its subcontractors performs to code and inspections are approved by the
  inspectors, Buyer cannot withhold any payments or rebate approvals. If the parties cannot resolve their dispute informally, the dispute shall be determined by binding
  arbitration in accordance with the Construction Industry Arbitration Rules of the American Arbitration Association, and judgment upon the award rendered by the Arbitrator(s)
  may be entered in any court having jurisdiction thereof. The arbitration panel shall consist of one arbitrator selected by the Salt Lake City, Utah office of the American
  Arbitration Association in accordance with its rules relating to the selection of arbitrators for the determination of issues. The costs of the arbitration and legal fees incurred by
  the prevailing party shall be borne by the non-prevailing party.

  8. Miscellaneous: If any action is brought by any party with respect to its rights under this Agreement, the prevailing party shall be entitled to reasonable attorneys' fees, and all
  other court costs, as determined by the court and not a jury. If any provision of this Agreement shall be held invalid or unenforceable, it shall not affect in any respect
  whatsoever the validity or enforceability of the remainder of this Agreement. This Agreement shall be binding upon the parties' respective successors and assigns. This
  Agreement constitutes the complete and exclusive statement of the agreement between the parties concerning this matter. This Agreement supersedes all prior written and
  oral statements. No modifications or amendment to this Agreement shall be binding unless in writing and executed by each of the parties hereto. This Agreement may be
  executed in one or more counterparts each of which shall for all purposes be deemed an original and all of such counterparts, taken together, shall constitute one and the same
  agreement. The Buyer has the right to require lSolar to have a performance and payment bond.

  9. Roof Improvements: In the event that Buyer is upgrading roof shingles prior to installation, Seller is not responsible or liable for any warranties, damages, repairs, or injuries
  associated with roof improvements.

  10. System Remove/Replace: Should Buyer decide to have the system removed/replaced for a purpose unrelated to system service (new roof, residence relocation, etc.), Buyer
  is to notify lSolar and allow at least 30 days in order to receive bid and appointment scheduling. Buyer is responsible to pay in full prior to work commencing.

  11. Third Party Verification: Some programs may require verification of completion or quality of work by a third party. If Buyer is contacted at any time by a third-party vendor,
  Buyer agrees to allow such party access to their home in a reasonable time table so as to not hold up the approval of the incentive applications or rebates due to Seller. If for
  any reason Buyer does not grant access to the third-party vendor, Buyer agrees to be personally responsible for any payments to Seller for rebates that Seller does not re-ceive,
  due to Buyer not granting the third-party access to their home.




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 EXHIBIT A (Continued)
  12. lien Release: Upon satisfactory payment being made for final completion of the work performed, lSolar may furnish, upon request, to Buyer a full and unconditional release
  from any potential lien claimant claim or mechanic's lien for that portion of the work for which payment has been made. lien Release will only be supplied when account
  balance is paid in full.

  13. Commercial General Liability Insurance (CGL) : This contractor carries commercial general liability insurance. You may call the con-tractor to check the contractor's insurance
  coverage.

  14. Workers' Compensation Insurance: This contractor carries workers' compensation insurance for all employees.

  15. Mechanics lien Warning: Anyone who helps improve your property, but who is not paid, may record what is called a mechanics' lien on your property. A mechanics' lien is a
  claim, like a mart-gage or home equity loan, made against your property and recorded with the county recorder. Even if you pay your contractor in full, unpaid subcontractors,
  sup-pliers, and laborers who helped to improve your property may record mechanics' liens and sue you in court to foreclose the lien. If a court finds the lien is valid, you could
  be forced to pay twice or have a court officer sell your home to pay the lien. liens can also affect your credit. To preserve their right to record a lien, each sub-contractor and
  material supplier must provide you with a document called a '20-day Preliminary Notice.' This notice is not a lien . The purpose of the notice is to let you know that the person
  who sends you the notice has the right to record a lien on your property if he or she is not paid. BE CAREFUL. The Preliminary Notice can be sent up to 20 days after the
  subcontractor starts work or the supplier provides ma-terial. This can be a big problem if you pay your contractor before you have received the Preliminary Notices. You will not
  get Preliminary Notices from your prime con-tractor or from laborers who work on your project. The law assumes that you already know they are improving your property.
  Upon request of Buyer, Contractor shall furnish lien waivers in the forms prescribed by A.R.S. § 33-1008(0).

  16. Governing Law: This Purchase and Installation Agreement shall be governed by the laws of the State of Utah .

  17. Workmanship Warranty: lSolar warrants to the original purchaser (property owner at time work completed as evinced below) that any installation procedures performed
  will be free from workmanship defects for a period ofTen (10) years ("Warranty Period") after the product is installed as determined by manufacturer. Upon completion of the
  project, lSolar will provide all manufacturer warranty information to the original purchaser/property owner. This workmanship warranty covers all workmanship defects related
  to installed work only. lSolar will provide service without charge, for Warranty Period, after installation of the product if a problem occurs due to workmanship, in accordance
  with warranty from the manufacturer issued to the buyer. Service shall be rendered by the company between 8:00 am and 5:00 p.m. on weekdays. In the event of a
  workmanship defect or a manufacturer's product defect, please contact our office by phone or in writing. When you first experience a problem, immediate contact is of the
  utmost importance and may prevent further damage. Please provide a detailed description of the defect, if possible. lSolar is not responsible for damages caused by the lack of
  mitigation of damages. The warranty statements contained in this section set forth the only express warranties extended by lSolar for workmanship, and any other
  representations and/or warranties made by representatives of lSolar, if any, must be in writing. This warranty terminates or is void in the event that any work is performed on
  our installed components during the Warranty Period by anyone other than lSolar, or by acts of nature causing damage to our installed components, including but not limited
  to, hail, wind, tornado, hurricane, tree limbs, debris and improper maintenance.

  18. Roof Penetration Warranty: lSolar warrants to the original purchaser (property owner at time work completed as evinced below) that any installation procedures
  performed will be free from penetrations that result in leaking defects for a period of five (5) years ("Penetration Warranty Period") after the product is installed. lSolar shall
  repair and remediate any damage attributable to an improper roof penetration. This Penetration Warranty Period may not be assigned or transferred to a third party.

  This Penetration Warranty Period shall cover any improper penetrations performed by lSolar in the installation of your solar system that result in water penetration to the
  roofing system. The following additional items are excluded from the Roof Penetration Warranty, consequential or additional damages, normal wear and tear on the roof, any
  defect or damage that is covered by a manufacturer or product warranty, failure of Owner to take timely action to minimize loss or damage. The warranty statements
  contained in this section set forth the only express warranties extended by lSolar for roof penetrations, and any other representations and/or warranties made by
  representatives of lSolar, if any, must be in writing. This warranty terminates or is void in the event that any work is performed on our installed components during the
  Warranty Period by anyone other than lSolar, or by acts of nature causing damage to our installed components, including but not limited to, hail, wind, tornado, hurricane, tree
  limbs, debris and improper maintenance.

  If your roof covering is currently under warranty by a third party, the warranty on the roof covering may be voided by the roofing firm that holds that warranty and/or the roof
  covering manufacturer if you permit anyone to penetrate the roof covering without the consent of the warranty holder. You should read your roof covering warranty very
  carefully and/or contact the roofer that holds the warranty prior to initiating this work to make sure that you are not jeopardizing any remaining warranty on the roof covering.
  The roof warrantor may wish to coordinate the penetration work with 1Solar to preserve your warranty.

   19. This Agreement (and the Consumer Protection Disclosure Agreement for Utah and Idaho residents only) constitute the entire and exclusive understanding and agreement of
   the parties regarding the subject matter hereof, and supersedes, and may not be contradicted or modified by, any prior or contemporaneous understandings, negotiations,
   agreements, representations, promises, statements or the like (oral or written) of the parties, and may not be modified or amended except by written agreement signed by the
   parties. Customer may not assign any rights or obligations under this Agreement without the prior written consent of the Seller, or its sole discretion. The Seller may assign its
   rights under this Agreement. Subject to the foregoing, this Agreement shall inure to the benefit of the Seller's successors and assigns, and be binding upon Customer's
   permitted successors and assigns.

     □       Homeowner's Association Liability: By checking this box, I consent to have 1Solar perform contracted work before obtaining HOA approval. I understand that if my
             residence is governed by an HOA, I am liable for any rules/regulations set by the HOA, including those regarding home improvement projects.




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                                          titSOLAR




                            THIS CERTIFICATE IS PROUDLY PRESENTED TO




                        Thi s certificate is proof of your 25-Year Extended Warranty
                      through 1Solar. This is an extension of the warranty outlined in
                           your Purchase and Installation Agreement. This zero-
                       deductible warranty covers all workmanship and labor costs,
                                as well as mechanical and electrical failures .




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